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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

                                                     )       Case No. 1:20-cv-01853
  BCBSM, INC., et al.,                               )
                                                     )
          Plaintiffs,                                )       Honorable Virginia M. Kendall
                                                     )       Honorable Sheila M. Finnegan
                         v.                          )
                                                     )
  WALGREEN CO., et al.,                              )       Consolidated with:
                                                     )       No. 1:20-cv-01929
          Defendants.                                )       No. 1:20-cv-03332
                                                     )       No. 1:20-cv-04738
                                                     )       No. 1:20-cv-04940


  WALGREEN CO. & WALGREENS                           )
  BOOTS ALLIANCE, INC.,                              )
                                                     )
          Third-Party Plaintiffs                     )
                                                     )
                         v.                          )
                                                     )
  PRIME THERAPEUTICS LLC,                            )
                                                     )
          Third-Party Defendant.                     )
                                                     )

     WALGREENS’ MOTION TO STRIKE CROWELL & MORING’S IMPROPER
             “MOTION FOR QUALIFICATION OF COUNSEL”


       On Friday, July 30, two lawyers admitted to practice before this Court filed appearances

on behalf of a single entity: Crowell & Moring LLP (“Crowell”). (Dkts. 156 & 157.) Crowell is

not a party to this case, nor has it moved to intervene. Rather, certain lawyers employed by Crowell

have appeared, pro hac vice, as lead counsel for the Plaintiffs in this consolidated action.

Remarkably, the two local lawyers who entered appearances for Crowell—and only Crowell—

immediately thereafter signed and filed multiple motions (Dkts. 158, 159, & 161), as well as a



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double-length memorandum (Dkt. 160), all purportedly on behalf of the Plaintiffs, whom they do

not represent. In addition to violating this Court’s Rules, the so-called Motion for Qualification

of Counsel is entirely procedurally improper. Crowell’s bizarre filings apparently reflect an

attempt to solicit an inappropriate advisory opinion from this Court regarding Crowell’s breaches

of its fiduciary duties to defendant Walgreen Co. (“Walgreens”), which already are being litigated

in another court in the District of Columbia. Whatever Crowell’s purpose, the Court should strike

the Motion as procedurally improper and without any basis under the Federal Rules. Accordingly,

pursuant to Northern District of Illinois Local Rule 5.6 and the Court’s inherent power to control

its docket, see, e.g., Dietz v. Bouldin, 136 S. Ct. 1885, 1891 (2016), Walgreens respectfully moves

the Court for entry of an order striking Plaintiffs’ Motion for Qualification of Counsel (the

“Motion”) (Dkt. 158), Plaintiffs’ Motion for Leave to File under Seal (Dkt. 159), Plaintiffs’ sealed

Memorandum of Law in Support of Their Motion (Dkt. 160), and Plaintiffs’ Motion for Leave to

File Excess Pages (Dkt. 161).

       In support of this motion, Walgreens relies upon all pleadings and papers of record to date

and further states:

       1.      “No pleading, motion . . . , or other document shall be filed in any case by any

person who is not a party thereto, unless approved by the court.” N.D. Ill. LR 5.6. Crowell is not

a party to this action, nor has it moved to intervene. Nonetheless, Crowell’s lawyers from Perkins

Coie purported to sign and file the Motion and related papers for “Plaintiffs.” (Dkts. 158–161.)

No basis exists in the rules or law for this flagrant maneuver. The Court need look no further to

strike the filings as improper.

       2.      If the Court were inclined for any reason to disregard the patent impropriety of a

non-party purporting to file motions on behalf of a party, the Motion nevertheless remains a



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procedural nullity and should be stricken. In the Motion, attorneys representing Crowell seek an

advisory opinion qualifying their non-party client’s lawyers to continue representing the

Plaintiffs—even though Walgreens has not moved to disqualify those lawyers. Crowell seeks a

form of relief that is not recognized in the Federal Rules of Civil Procedure or the common law.

A “request for an advisory opinion—one that cannot help the plaintiffs and has effects, if at all, on

strangers to the litigation,” is improper. Alliance to End Repression v. Chicago, 820 F.2d 873, 876

(7th Cir. 1987). The Court should strike the procedurally defective non-party Motion and the

accompanying filings (Dkts. 158–161).

       3.      The Court might wonder why, apparently out of the blue, Crowell filed an over-

length brief (without the Court’s prior leave, it bears noting) and without any notice to or

consultation with Walgreens’ counsel. The strategy is obvious—Crowell recently lost a motion to

dismiss Walgreens’ breach of fiduciary duty case against the law firm in a different forum, and the

firm apparently sees an opportunity in this Court to develop more favorable rulings regarding

Crowell’s inexplicable decision to sue its former client on behalf of several insurers (including but

not limited to Plaintiffs) regarding the subject matter of Crowell’s own advice to Walgreens in

2008–2009.

       4.      Crowell’s procedurally improper Motion is a transparent attempt to forum shop.

Crowell’s breaches of its ethical obligations and fiduciary duties already are the subject of a suit

in the Superior Court of the District of Columbia. See Dkt. 149-1. Crowell is a party to that suit,

it has already presented to that court the arguments that it now seeks to foist on this Court through

the back door, and a judge on that court has already denied Crowell’s motion to dismiss

Walgreens’ claims. See Dkt. 149-2, at 29–34.




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       5.      Through the Motion, Crowell essentially asks this Court to reconsider the ruling by

the Superior Court of the District of Columbia and to decide on the merits, before any motion to

disqualify and before discovery, that Crowell has not violated any fiduciary duties or ethical rules.

       6.      Crowell is not a party to this case, and Walgreens’ counterclaim is against Plaintiffs,

not Crowell. The Court should not entertain a non-party’s improper attempt to interject an issue

not raised in this case solely to try to relitigate an adverse ruling by another court.

       7.      First, the Motion is an improper filing by a non-party, and it should be stricken

under Local Rule 5.6. Although styled as “Plaintiffs’ Motion for Qualification of Counsel,” the

Motion was filed by Crowell’s lawyers on Crowell’s behalf. On July 30, 2021, lawyers from

Perkins Coie filed appearances in this case. See Dkts. 156–157. Although the docket text on

CM/ECF suggests that the Perkins Coie lawyers are appearing on behalf of a single one of the

dozens of Plaintiffs (BCBSM, Inc.), their appearance forms, signed under Federal Rule of Civil

Procedure 11, make clear that they represent Crowell & Moring LLP and only Crowell & Moring

LLP. See id. Yet it is these Perkins Coie lawyers, as “Counsel for Crowell & Moring LLP,” who

have purported to sign the Motion and supporting memorandum under Federal Rule of Civil

Procedure 11 on behalf of Plaintiffs, parties they do not represent. Dkt. 158 at 2; Dkt. 160 at 29.

       8.      The letter to the Court from Crowell lawyer Kent A. Gardiner dated July 30, 2021,

which is itself likely a violation of the Court’s Case Procedures for Motion Practice, simply

confirms what the Motion’s signature block makes obvious: the Motion was filed by non-party

Crowell. As Mr. Gardiner explains: “we [Crowell] have filed today a motion for qualification of

counsel that asks the Court to resolve” whether Crowell may continue as counsel. The Local Rules

are clear: the Court should strike Crowell’s non-party Motion. See N.D. Ill. LR 5.6.




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       9.      Second, the Motion seeks an inappropriate advisory opinion. There is no such thing

as a “motion to qualify,” and Walgreens has not moved to disqualify Crowell. If discovery in this

case and in Walgreens’ case against Crowell in the Superior Court of the District of Columbia

justifies that step, and Walgreens moves for disqualification, the Court can decide whether

Crowell’s ethical conflicts prohibit it from taking a position adverse to its former client Walgreens.

Unless and until Walgreens files such a motion, however, the Court should not entertain Crowell’s

request for a premature opinion, uninformed by discovery, on the question. It would be patently

unfair and beyond any basis in the Rules for the Court to force Defendants to sustain the burden

of a disqualification motion that Defendants have not filed at this juncture of the case.

       10.     To the extent Crowell’s hasty July 30 filings were precipitated by Walgreens’ July

26 counterclaim against the Plaintiffs for aiding and abetting Crowell’s ethical lapses, Walgreens

notes the following indisputable facts:

               a.      This Court’s pretrial order required Defendants to assert (or lose) any

compulsory counterclaims that it could state against Plaintiffs by July 26, 2021. Defendants did

so in compliance with the Court’s order.

               b.      The standard for stating a claim for aiding and abetting a breach of fiduciary

duty in Illinois is different from, and does not depend upon, the standard for prevailing on a motion

to disqualify counsel or the standard (if any) for a motion to “qualify” counsel. Nothing about

Walgreens’ counterclaim requires the Court to entertain Crowell’s unprecedented and improvident

Motion at this time.

       11.      Third, Crowell’s request for an advisory opinion is particularly egregious given

that another court already has denied Crowell’s motion to dismiss a complaint actually raising the

issue of Crowell’s ethical breaches. In the Superior Court for the District of Columbia, the court



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determined that “Walgreen[s] has set forth sufficient facts . . . to support a claim for breach of

fiduciary duty that is plausible.” Dkt. 149-2 at 31. Crowell should not be allowed to use this non-

party Motion to take another bite at the apple.

       12.     Fourth, Crowell’s lawyers offer no support whatsoever suggesting that their novel

“motion to qualify” is recognized in the Federal Rules of Civil Procedure, the American Bar

Association’s Model Rules of Professional Conduct, or the common law. Crowell’s lawyers cite

two out-of-circuit district court cases to suggest that “[f]ederal courts entertain motions to qualify

counsel in similar settings,” Mot. at 1 n.1, but neither case reached the courts in anything like the

procedural posture here or addressed the propriety of a motion to qualify. In Classic Indus., L.P.

v. Mitsubishi Chem. FP Am., Inc., No. 3:07-cv-1201, 2009 WL 10677531, at *1 n.1 (N.D. Tex.

Feb. 17, 2009), both parties wanted the court to decide the qualification motion, meaning that

counsel’s conflict was squarely presented to the court: the defendant filed a motion to disqualify

specifically “to cure any procedural deficiencies or ripeness issues resulting from [plaintiff’s]

preemptive qualification motion.”      Here, Defendants have not filed a motion to disqualify

(although they reserve their right to do so), so the procedural deficiencies and ripeness issues

remain uncured. And in Eberle Design, Inc. v. Reno A&E, 354 F. Supp. 2d 1093, 1094 (D. Ariz.

2005), the plaintiff “assert[ed] that [opposing counsel] would be disqualified” if a new lawyer

joined the firm; the defendant did not seek to preemptively qualify counsel. Thus, in neither of

the cases Crowell’s lawyers cite for support did the court take the unprecedented and procedurally

improper step of hearing, let alone granting, a motion to decide a counsel’s qualifications that had

not yet been challenged.

       13.     In sum, no basis exists under the Federal Rules or law for Crowell’s so-called

Motion for Qualification of Counsel. Crowell is not a party, and its lawyers should not have



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purported to file motions on behalf of Plaintiffs whom they do not represent in an apparent dodge

of Crowell’s non-party status. Even if its Motion were not procedurally void, Crowell improperly

seeks a premature advisory opinion on an issue that the Court need not and should not consider at

this time. The papers should be stricken.

       14.     In compliance with the Court’s General Order 21-0027, which suspends Local Rule

5.3(b), Walgreens has not noticed this motion for presentment.

       15.     This motion to strike is made in the interest of justice and not for the purpose of

delay or obstruction.

       16.     Wherefore, Walgreens respectfully requests that the Court enter an Order:

               a.       Striking the Motion (Dkt. 158) and accompanying filings (Dkts. 159–161);

               b.       Granting such other and further relief as this Court deems just and proper.


Dated: August 3, 2021                          Respectfully submitted,




                                               /s/ Jeffrey J. Bushofsky
                                               Jeffrey J. Bushofsky
                                               Laura G. Hoey
                                               Charles D. Zagnoli
                                               ROPES & GRAY LLP
                                               191 North Wacker Drive
                                               32nd Floor
                                               Chicago, Illinois 60606
                                               Tel: (312) 845-1200
                                               Fax: (312) 845-5522
                                               Jeffrey.Bushofsky@ropesgray.com
                                               Laura.Hoey@ropesgray.com
                                               Charles.Zagnoli@ropesgray.com

                                               Attorneys for Defendant Walgreen Co.




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                               CERTIFICATE OF SERVICE

       I, Charles D. Zagnoli, hereby certify that the foregoing document was electronically filed

on August 3, 2021, and will be served electronically via the Court’s ECF Notice system upon the

registered parties of record and upon counsel for non-party Crowell & Moring LLP.



                                             /s/ Charles D. Zagnoli

                                             Charles D. Zagnoli
                                             ROPES & GRAY LLP
                                             191 North Wacker Drive
                                             32nd Floor
                                             Chicago, Illinois 60606
                                             Tel: (312) 845-1200
                                             Fax: (312) 845-5522
                                             Charles.Zagnoli@ropesgray.com

                                             Attorney for Defendant Walgreen Co.
